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                      International Society for Krishna Consciousness
                                       Founder Acharya
                    His Divrne Grace A.C. Bhaktivedanta Swami prabhupada
                          383 Lenox Avenue Detroit Michigan, 4g215
                                      Ph: (313) 824-6000


    To whomever it may concern
    This is to inform thats Mr. Ba_bubhai patel. has been a sincere
    and dedicated member of the hdia.n society in r,richigan _ He has
    been participating as a volunteer for meny humanitarian and
    religious causes throughout his 1ife. He is very humble and
    kind person by nerure and we wish him to progresJ on the path
    of freedom and happiness ín his life so that he can continue
    his participâtion in hefping orher needy people. rf you heve
    any questions, please feel free to contact 3L3_824_6OOO.
    S   íncere ly
        t(-5
   Bharath Subramanian




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